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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------------------------------------------X

 JAMES ALLEN, HOWARD RIEGLER, VICTOR
 SOWINSKI, JR., MICHAEL BRINKLEY, NEIL
 VELASCO, CATHY JONES, PATRICK MADDEN,
 JR., MICHAEL GIBALDI, PAUL WALTERS,
 JAMES PRINCE, CRAIG STEWART, PEDRO
 VERA, JR., NICOLE SALERNO, BESNIK                                        Index No.: 22-cv-1572(HG)(JMW)
 GJONLEKAJ,      THOMAS    CINQUE,    CHRIS
 FOTOPOULOS, JOSEPH LUCKMAN, ROBERT
 BRANCATO, MICHAEL CAPOZIELLO, FRANK
 PASSANISI, III, JOSEPH W. BALLETTA, BRIAN
 TOMEO, GREGG SPAULDING, BRYAN C.
 VOGELEY,       RALPH    MERZ,     TIMOTHY
 MARSHALL, ESTATE OF MICHAEL JAMES,

                                    Plaintiffs,

                           -against-

 COUNTY OF NASSAU,

                                     Defendant.
 ---------------------------------------------------------------------X




                       MEMORANDUM OF LAW IN FURTHER SUPPORT
                          OF DEFENDANT’S MOTION TO DISMISS
                                        AND
                         DEFENDANT’S MOTION TO DISQUALIFY




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                                          ARGUMENT

   I.   Dismissal is Warranted as to Plaintiffs’ “Breach of Order” Claim

     A. Plaintiffs Fail to State a Cause of Action With Respect to their Breach of Order Claim

        Plaintiffs allege in the Amended Complaint that Defendant violated the Ebbert Order by

 mandating that FCTs work twelve hour tours with no breaks while PCOs receive four thirty-

 minute breaks and one one-hour lunch break each twelve hour tour. Defendant argued in their

 original moving papers that Plaintiffs failed to state of cause of action for breach of the Ebbert

 settlement agreement because there is no mention of breaks whatsoever within the Ebbert

 settlement agreement. Plaintiffs do not dispute this fact. Instead, Plaintiff’s counsel explicitly

 states that Plaintiffs are not pursuing a breach of contract claim and that Plaintiffs are not

 alleging a breach of the Ebbert settlement agreement. Rather, Plaintiffs state that they are

 asserting a cause of action for an alleged violation of Magistrate Judge Tomlinson’s Order.

        To the extent that Plaintiffs are pursing a cause of action for an alleged violation of an

 Order certifying a class action settlement, Plaintiffs’ Third Cause of Action (“Breach of Order”)

 is even weaker than originally anticipated. Stated succinctly, Magistrate Judge Tomlinson never

 ordered Nassau County to maintain equality between PCOs and FCTs. Plaintiffs grossly

 misconstrue Magistrate Judge Tomlinson’s certification of the Ebbert class action settlement.

        In Ebbert, the Court granted the plaintiffs’ motion to proceed as a class action with

 respect to the claims asserted under the New York State Equal Pay Act and 42 U.S.C. § 1983.

 Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the class action settlement required

 judicial approval. In a 36-page decision, Magistrate Judge Tomlinson provided factual

 background and procedural background regarding the Ebbert case. See, Exhibit A. Before

 entering into her Discussion section regarding the merits of the motion, Magistrate Judge




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 Tomlinson summarized the terms of the settlement:

               Under the Settlement, the parties have agreed that Nassau County
               will pay a gross Settlement amount of seven million ($7,000,000)
               dollars, exclusive of attorneys’ fees. The fund is to be distributed
               as follows:

                      A. Each class member will be made whole by
                      receiving a back pay settlement calculated by an
                      expert, representing the difference between what
                      she would have earned has (sic) she been paid the
                      same as the similarly situated FCT/FCTS, and what
                      she earned as a PCO/PCOS for the period running
                      from November 18, 1999 through June 30, 2011, or
                      her termination, whichever occurred first. Goodman
                      Aff. II, Ex. A, ¶ 3.1(A).

                      B. Each named Plaintiff will receive a Service
                      Award of $20,000 for initiating and prosecuting this
                      litigation. Id., Ex. A, ¶ 3.1(B)(b); Hr’g Tr. At 5.

                      C. The sum of $50,000 shall be set aside for
                      payment of the Settlement Claims Administrator….

                      D. Any sums remaining from Items B and C above
                      as well as any uncashed Settlement Check shall be
                      divided equally as cy pres awards to the two
                      designated Charities set forth in the Settlement
                      Agreement. Goodman Aff. II, Ex. A, ¶ 3.1(B)(e);
                      Hr’g Tr. At 5-6.

               The Settlement also provides that any PCO or PCOS not presently
               in her proper Grade 10 step, based on years of service, shall be
               upgraded immediately. Nassau County also commits to use its best
               efforts to maintain equality between the PCO/PCOS and the
               FCT/FCTS in the future. Goodman Aff. II, Ex. A, ¶ 3.4(a) and (b).
               Likewise, the agreement provides that the Settlement Funds shall
               be distributed within thirty (30) days after entry of the Court’s
               Order of Final Approval. Id. ¶ 3.1(B); Hr’g Tr. At 18. The parties
               further agreed that the Court will retain jurisdiction over the
               parties and this action for two years from the effective date of the
               Agreement for the purpose of entering any order or judgment that
               may be necessary to implement and enforce the relief provided.
               Ex. A, ¶ 6; Hr’g Tr. At 17-18.

 Exhibit A, p. 11-12 (emphasis added). Magistrate Judge Tomlinson was simply summarizing the



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 terms of the settlement agreement in connection with the background of the case.

        Indeed, regarding the one sentence upon which the Plaintiffs base this claim (“Nassau

 County also commits to use its best efforts to maintain equality between the PCO/PCOS and the

 FCT/FCTS in the future. Goodman Aff. II, Ex. A, ¶ 3.4(a) and (b).”), Magistrate Judge

 Tomlinson relied upon and cited Ex. A, ¶ 3.4(a) and (b) of the Goodman Affidavit, which was a

 copy of the settlement agreement itself. See, Exhibit B. In other words, Magistrate Judge

 Tomlinson was only citing ¶ 3.4 (a) and (b) of the Settlement Agreement, which state:

               3.4     Future Actions

               (a) Upon the Court’s Final Approval of the Settlement Agreement,
               any PCO or PCOS not presently in her proper step in grade 10
               step, based on years of service, shall be immediately upgraded.

               (b) Nassau County shall use its best efforts in the future to
               maintain the equality of grade level for the PCOs and FCTs, and
               the PCOSs and FCTSs respectively.

 See, Exhibit B. (emphasis added). Thus, in stating that “Nassau County also commits to use its

 best efforts to maintain equality between the PCO/PCOS and the FCT/FCTS in the future,”

 Magistrate Judge Tomlinson was not directing or ordering Nassau County to maintain equality

 between PCOs and FCTs but rather summarizing Nassau County’s commitment to maintain

 equality of grade level for those titles. Tellingly, within the Conclusion section of Magistrate

 Judge Tomlinson’s Order, Magistrate Tomlinson stated as follows:

               For all of the reasons set forth in this Final Order and Judgment
               (“Final Order”), the Court herby grants Final Approval of the
               Amended Stipulation of Settlement and Release (“Settlement
               Agreement) (sic) and directs the following:

               1. Within thirty (30) days of this Final Order, Defendants shall
               make back pay payments to each class member in the amount
               calculated by the Court-appointed expert.

               2. Within thirty (30) days of the entry of this Final Order,



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                Defendants shall pay to each individually named plaintiff twenty
                thousand ($20,000) dollars.

                3. Within thirty (30) days of the entry of this Final Order,
                Defendants shall set aside fifty thousand ($50,000) dollars to cover
                the costs of administration of the Settlement Agreement.

                4. Within thirty (30) days of the entry of this Final Order,
                Defendants shall pay class counsel fees as follows: to Eisenberg &
                Schnell LLP, $335,000; to the Law Offices of Janice Goodman,
                $415,000.

                5. Within thirty (30) days of the entry of this Final Order,
                Defendants shall reimburse Class Counsel costs as follows: to
                Eisenberg & Schnell LLP, $2,170.66; to the Law Offices of Janice
                Goodman, $130,080.98.

                6. All claims asserted in the litigation and the claims of all class
                members who did not opt out are hereby dismissed.

                7. This Court shall retain jurisdiction for two (2) years from the
                date of entry of this Final Order to preside over implementation of
                any settlement provisions.

                So Ordered.

 See, Exhibit A, p. 35-36. Thus, Magistrate Judge Tomlinson plainly did not order or direct

 Nassau County to maintain equality between the PCOs and FCTs. Accordingly, Plaintiffs’ Third

 Cause of Action warrants dismissal for failure to state a cause of action.

    B. Plaintiffs Lack Standing to Assert a Claim for Breach of the Ebbert Order

        It is clear that Plaintiffs do not have standing to allege either a breach of the Ebbert Order

 or the Ebbert settlement agreement. With respect to the Ebbert Order, the Plaintiffs lack standing

 to enforce the Ebbert Order as none of the Plaintiffs were a party to the Ebbert litigation.

 Plaintiffs lack standing to allege a violation of the Ebbert settlement agreement because

 Plaintiffs were not an intended third-party beneficiary of the Ebbert settlement agreement.

        Plaintiffs cite Old Crompond Rd., LLC v. Cnty. of Westchester, 201 A.D.3d 806, 808




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 (2022), which lists the elements to assert rights as a third-party beneficiary:

                  A party asserting rights as a third-party beneficiary must establish
                  ‘(1) the existence of a valid and binding contract between other
                  parties, (2) that the contract was intended for [its] benefit and (3)
                  that the benefit to [it] is sufficiently immediate, rather than
                  incidental, to indicate the assumption by the contracting parties of
                  a duty to compensate [it] if the benefit is lost.’

 Id. “[A]n intent to benefit the third party must be shown, and, absent such intent, the third party

 is merely an incidental beneficiary with no right to enforce the particular contracts.” Id. “Courts

 generally have recognized ‘a third party’s right to enforce a contract in two situations: when the

 third party is the only one who could recover for the breach of contract or when it is otherwise

 clear from the language of the contract that there was ‘an intent to permit enforcement by the

 third party.’” Id. Here, the Amended Complaint fails to allege that the Ebbert settlement

 agreement was intended to benefit the Plaintiffs. Likewise, the Amended Complaint fails to

 allege that the contracting parties (that being the PCOs and Nassau County) assumed a duty to

 compensate the FCTs if the FCTs lost the benefits of the settlement agreement. 1

           Therefore, Plaintiffs’ Third Cause of Action warrants dismissal due to lack of standing.

     II.   The Claim Under Nassau Cty. Government Law §1307 Fails As A Matter Of Law

       A. Plaintiffs Failed to Comply With Statutory Notice of Claim Requirements

           Plaintiffs incorrectly assert that a Notice of Claim was not required as to Plaintiffs’ cause

 of action brought under Nassau County Government Law § 1307 because New York County

 Law § 52 only applies to tort claims. Likewise, Plaintiffs argue that a Notice of Claim was not


 1
   As set forth in further detail below, this is precisely the type of conflict that warrants the
 disqualification of Plaintiffs’ Counsel. For the FCTs to pursue a breach of contract claim in this
 Action as an intended third-party beneficiary of the Ebbert settlement agreement, the FCTs must
 allege that the PCOs and PCOSs assumed the duty within the Ebbert Settlement Agreement to
 compensate the FCTs and FCTSs in the event that the FCTs and FCTSs lost the benefit of the
 Ebbert Settlement Agreement. This is directly at odds with Counsel’s representation of the PCOs
 as the PCOs could potentially be liable to the FCTs if the FCTs were to prevail on this claim.


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 required because Plaintiffs are seeking injunctive relief. These arguments have repeatedly been

 rejected by the Courts. It is well established that “N.Y. County Law § 52(1) has broader

 application than General Municipal Law § 50–e and requires a notice of claim for claims ‘against

 a county for damage, injury or death, or for invasion of personal or property rights, of every

 name and nature ... and any other claim for damages arising at law or in equity.’” Anderson v.

 Nassau Cnty. Dep't of Corr., 558 F. Supp. 2d 283, 303 (E.D.N.Y. 2008).

        Likewise, Plaintiffs nonsensically argue that Plaintiffs could have brought their Section

 1307 claim in New York State Court as an Article 78. Plaintiffs provide no support for their

 argument that a cause of action requiring service of a notice of claim should be exempt from

 those requirements if the claim could also be brought as an Article 78 proceeding. Moreover, a

 Notice of Claim is required, pursuant to County Law § 52, as to Article 78 proceedings brought

 against a county. Abramowitz v. Guido, 61 A.D.2d 1045, 403 N.Y.S.2d 120 (1978) (holding,

 “Article 78 proceeding could not be used to evade requirement of timely filing of notice claim.”);

 Calvert v. Westchester Cnty. Pers. Off., 128 A.D.2d 523, 512 N.Y.S.2d 456 (1987) (finding that

 the failure to file the required notice of claim barred an Article 78 proceeding challenging

 reassignment of lieutenant employed by county department of public safety); Ganci v. Tuthill,

 216 A.D.2d 390, 390, 628 N.Y.S.2d 343, 343 (1995); Boyle v. Kelley, 42 N.Y.2d 88, 91, 365

 N.E.2d 866, 868 (1977). The sole case cited by Plaintiffs, Jordan v. Daly, 302 AD2D 862 (4th

 Dept. 2003), is entirely distinguishable inasmuch as the Court therein relied upon the procedure

 and applicability of Civil Service Law § 76(1), which is not applicable in the instant action.

    B. Plaintiffs’ Disparate Pay Claims Are Barred By the doctrines of Res Judicata and
       Collateral Estoppel

        Plaintiffs have misrepresented Judge Block’s Order denying the County’s summary

 judgment motion in Ebbert. First, Plaintiffs erroneously argue that Judge Block’s decision in




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 Ebbert “superseded” the decision in AFSCME v. County of Nassau, 799 F. Supp. 1370, 1408

 (E.D.N.Y. 1992). In Ebbert, Judge Block stated as follows:

                The County next argues that a prior decision of this Court
                forecloses, as a matter of stare decisis, plaintiffs’ claim that PCOs
                perform substantially equal work as FCTs. In AFSCME v. County
                of Nassau, 799 F.Supp. 1370 (E.D.N.Y.1992), Judge Glasser
                concluded that “the differences in responsibilities and in
                independent judgment required for these two positions—as well as
                the differences in training and in experience—establish that the job
                titles of police communications operator and of fire
                communications technician are not substantially similar.” Id. at
                1408. Importantly, however, Judge Glasser’s determination was a
                finding of fact made after a bench trial. See id. at 1373. “The
                doctrine of stare decisis does not apply to the determination of the
                facts of a case.” 18 James Wm. Moore et al., Moore's Federal
                Practice ¶ 134.05[3] (3d ed.1999).

 Ebbert v. Nassau Cnty., 2009 WL 935812, at *3 (E.D.N.Y. Mar. 31, 2009).

        Thus, Judge Block did not apply the doctrine of stare decisis to Judge Glasser’s findings

 in AFSCME because he found that the doctrine of stare decisis did not apply to the determination

 of the facts of the case. This is not true, however, with respect to the doctrines of res judicata and

 collateral estoppel, which plainly do apply to a determination of facts.

                Collateral estoppel, together with its related principles, merger and
                bar, is but a component of the broader doctrine of res judicata
                which holds that, as to the parties in a litigation and those in privity
                with them, a judgment on the merits by a court of competent
                jurisdiction is conclusive of the issues of fact and questions of law
                necessarily decided therein in any subsequent action. This
                principle, so necessary to conserve judicial resources by
                discouraging redundant litigation, is grounded on the premise that
                once a person has been afforded a full and fair opportunity to
                litigate a particular issue, that person may not be permitted to do so
                again. Collateral estoppel is a corollary to the doctrine of res
                judicata; it permits in certain situations the determination of an
                issue of fact or law raised in a subsequent action by reference to a
                previous judgment on a different cause of action in which the same
                issue was necessarily raised and decided.

 Mut. Fire, Marine v. Fred S. James, 92 A.D.2d 203, 207 (1983)(internal citations omitted).



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        In Ebbert, Judge Block did not make any ruling as to the applicability of the doctrines of

 res judicata and collateral estoppel to the findings in AFSCME and, therefore, those arguments

 are entirely ripe for review.

        Contrary to Plaintiffs’ repeated contention, Judge Block never ruled or determined that

 PCOs perform equal work as FCTs. Rather, Judge Block denied summary judgment and held

 that the issue had to be decided by a jury: “These differences may certainly be presented to a jury

 as grounds for a finding that PCOs/PCOSs and FCTs/FCTSs do not perform substantially equal

 work. They are not determinative, however, because there is evidence in the record that tends to

 counterbalance them.” See, Ebbert v. Nassau Cnty., 2009 WL 935812, at *4 (E.D.N.Y. Mar. 31,

 2009). “The Court is well aware that in some cases ‘two positions may be so different ... that no

 reasonable juror could conclude that they are ‘substantially equal.’’” Based on the record in this

 case, however, the Court cannot say that the differences are sufficiently great to decide the issue

 as a matter of law.” Ebbert v. Nassau Cnty., 2009 WL 935812, at *5 (E.D.N.Y. Mar. 31, 2009).

        Simply put, Judge Block never found that there was “overwhelming evidence to show

 substantially similar work,” and Judge Block certainly never ruled, as a matter of law, that PCOs

 and FCTs perform substantially similar work. To the contrary, Judge Glasser was the only judge

 to decide that issue in AFSCME v. County of Nassau, 799 F. Supp. 1370, 1408 (E.D.N.Y. 1992).

 Judge Glasser ruled in favor of Nassau County, finding that PCOs and FCTs are not substantially

 similar. Dismissal of Plaintiffs’ Second, Third, and Fourth causes of action are warranted on the

 same grounds through the doctrines of res judicata and collateral estoppel.

 III.   Disqualification of Plaintiffs’ Counsel is Necessary Due to Conflict Between Clients

        Plaintiffs’ Counsel claims that the PCOs and the FCTs do not have a single “differing

 interest.” This is implausible. Here, the substantive law permits recovery by only one or the other

 set of litigants: it is not possible that the “female PCOs” are paid less than the “male FCTs” and


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 the “male FCTs” are paid less that the “female PCOs.” It is a logical impossibility. At some

 point, Plaintiffs’ Counsel will be forced to argue against one or both sets of clients.

        Plaintiffs allege that they, as “predominantly male” FCTs, are paid less than the

 “predominantly female” PCOs because the FCTs allegedly do not receive the four thirty-minute

 breaks and one-hour lunch received by the PCOs. On the other hand, the PCOs are actively

 alleging that they, as “predominantly female” PCOs, are paid less than the “predominantly male”

 FCTs because the PCOs allegedly do not receive equal shift differential, holiday pay, and

 mileage allowance for non-contiguous overtime. Plaintiffs’ Counsel fails to acknowledge that

 one simple way to eliminate the alleged disparity in this case is simply to eliminate the breaks

 received by Nassau County’s PCOs. Likewise, Plaintiffs’ Counsel fails to acknowledge that the

 disparities alleged in the Chodkowski, Davidson, and Abbananto litigations can be alleviated by

 reducing and/or eliminating the shift differential, holiday pay, and mileage allowance for non-

 contiguous overtime allegedly received by FCTs. Plaintiffs’ counsel argues that these benefits

 are protected “via their MOA and the CBA so no one can [] take these benefits away from

 them.” Notably, Plaintiffs’ Counsel fails to cite any MOA or CBA as an exhibit in support of his

 contention in this regard. Furthermore, the argument of Plaintiffs’ Counsel is flawed in this

 regard. If Plaintiffs or the PCOs were able to prevail on their underlying claims in these actions

 by proving disparate treatment based upon gender in violation of federal law and/or state law,

 those alleged contracts, which Plaintiffs’ Counsel claims protects the PCOs and the FCTs, would

 be void and unenforceable as an illegal contract, void as against public policy. 2

        Plaintiffs’ Counsel attempts to obviate the obvious conflict by submitting a Declaration


 2
   While counsel for the Defendant is cautious not to release information related to settlement
 discussions, Defendant’s Counsel would like to alert the Court that several additional conflicts
 (and indeed many of the primary conflicts) between the PCOs and FCTs have arisen in the
 context of settlement discussions. Defendant’s Counsel will provide this information at the


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 allegedly signed by each Plaintiff purporting to constitute informed consent. “Comment 18 to

 New York Rule of Professional Conduct 1.7 defines ‘informed consent,’ in relevant part, as

 follows: Informed consent requires that each affected client be aware of the relevant

 circumstances, including the material and reasonably foreseeable ways that the conflict could

 adversely affect the interests of that client.” Akagi v. Turin Hous. Dev. Fund Co., 2017 WL

 1076345, at *15 (S.D.N.Y. Mar. 22, 2017). Noticeably missing from Plaintiffs’ opposition

 papers is a declaration signed by even a single PCO or PCOS consenting to the conflict.

 Moreover, the “informed consent” by the Plaintiffs herein is dubious at best. First and foremost,

 the Declaration does not mention the word “conflict” even once. How can the FCTs provide

 “informed consent” to a conflict if they have not been told that a conflict exists? The Declaration

 does not provide any indication that the Plaintiffs were notified of “the material and reasonably

 foreseeable ways that the conflict could adversely affect” them. Second, the signature of each

 Plaintiff is not on the Declaration itself, casting doubt as to whether each Plaintiff actually

 received and read the Declaration before signing it.

                                          CONCLUSION

          For the foregoing reasons, Defendant respectfully requests that the Court issue an Order

 dismissing Plaintiffs’ Second Cause of Action, Third Cause of Action, and Fourth Cause of

 Action, in their entirety, with prejudice; disqualifying Plaintiffs’ Counsel; and granting such

 other and further relief as the Court may deem just and proper.

 Dated:          Mineola, New York
                 August 8, 2022
                                               By:____________________________
                                                 Deanna D. Panico




 request and with the consent of the Court.


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